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16   Attorneys for Plaintiff
     UNITED STATES OF AMERICA
17
                              UNITED STATES DISTRICT COURT
18
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
19
     UNITED STATES OF AMERICA,                 No. LACR19-642-VAP
20                                             No. LACR20-155-VAP
                 Plaintiff,
21                                             GOVERNMENT’S OPPOSITION TO MOTION
                      v.                       TO EXTEND SURRENDER DATE;
22                                             MEMORANDUM OF POINTS AND
     IMAAD SHAH ZUBERI,                        AUTHORITIES; DECLARATIONS OF
23                                             DANIEL J. O’BRIEN AND ELIEZER BEN-
                 Defendant.                    SHMUEL
24
                                               Hearing Date: May 3, 2021
25                                             Time: 9:00 a.m.
                                               Courtroom: 8A
26

27

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 1         Plaintiff United States of America, by and through its counsel

 2   of record, the United States Attorney for the Central District of

 3   California, hereby opposes defendant Imaad Shah Zuberi’s motion to

 4   extend his surrender date.

 5         This opposition is based upon the attached Memorandum of Points

 6   and Authorities, the attached Declarations of Daniel J. O’Brien and

 7   Eliezer Ben-Shmuel, and the files and records in this case.

 8    Dated: April 12, 2021                Respectfully submitted,

 9                                         TRACY L. WILKISON
                                           Acting United States Attorney
10
                                           BRANDON D. FOX
11                                         Assistant United States Attorney
                                           Chief, Criminal Division
12

13
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15                                         Attorneys for Plaintiff
                                           UNITED STATES OF AMERICA
16

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 1                         MEMORANDUM OF POINTS AND AUTHORITIES

 2   I.     INTRODUCTION

 3          On February 18, 2021, this Court sentenced defendant Imaad Shah

 4   Zuberi (“defendant” or “Zuberi”) to a total custodial term of 144

 5   months (12 years).       (CR 19-642-VAP, Dkt. 332; CR 20-155-VAP, Dkt.

 6   97)1       The Court also ordered defendant to pay $15,705,080.11 in

 7   restitution to the United States, and to pay the United States a

 8   total interest-bearing fine of $1,750,000.          The Court directed

 9   defendant to surrender on May 25, 2021.         (Id.)

10          On March 2, 2021, in order to reduce the risk of flight, the

11   Court modified the conditions necessary to secure defendant’s

12   presence by ordering defendant to participate in location monitoring

13   (via an ankle bracelet) and to abide by a curfew which restricts

14   defendant to his residence in Arcadia, California from 5:00 p.m. to

15   9:00 a.m. every day.       (Dkt. 336)   Defendant’s travel was restricted

16   to Los Angeles and Orange Counties.         To ensure the payment of

17   outstanding tax obligations and the criminal fine, the modified bond

18   further required defendant and his spouse to execute quitclaim deeds

19   for property, totaling at least $6 million in value, held by LLCs

20   owned entirely by defendant.        (Id.)   These bond conditions were

21   imposed in addition to the initial $3 million cash bond posted by

22   defendant shortly after his arraignment.          (Id.)

23          In light of the COVID-19 pandemic and defendant’s underlying

24   health issues, the government did not move for immediate remand after

25   sentencing, but rather stipulated to the additional bond conditions

26   set forth above.       At that time, the distribution of COVID-related

27

28          All subsequent citations to the dockets in these two
            1
     consolidated matters will be to the docket in CR 19-643-VAP.
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 1   vaccines in California was limited to healthcare workers and long-

 2   term care residents (Phase I) and food/agricultural,

 3   education/childcare, and emergency-service workers (Phase II).2

 4         Now, almost two months later, the circumstances surrounding the

 5   COVID pandemic have improved dramatically.          Due to his health issues,

 6   defendant became eligible to receive a vaccine on March 15.3             To

 7   date, approximately 23 million doses of the vaccine have been

 8   administered within California and nearly half (about 48 percent) of

 9   California’s adult population has received at least one dose of a

10   vaccine.4    Despite his eligibility, defendant has not availed himself
11   of the opportunity to be vaccinated, and has not even scheduled an
12   appointment.     (Dkt. 347)    Instead, defendant now seeks to extend his
13   surrender date by 90 days, from May 25, 2021 to August 23, 2021.
14   (Id.)
15         Defendant’s conduct both before and after the Court’s imposition
16   of a 12-year sentence strongly indicates that his failure to obtain,
17   or even seek, a vaccine is just defendant’s latest effort in a long
18

19
            See https://www.cdph.ca.gov/Programs/CID/DCDC/Pages/COVID-
             2
20   19/VaccineAllocationGuidelines.aspx.
          3 “Beginning March 15, healthcare providers may use their
21   clinical judgement to vaccinate individuals age 16-64 who are deemed
     to be at the very highest risk for morbidity and mortality from
22   COVID-19 as a direct result of one or more specified severe health
     conditions . . .” These specified conditions include Type II
23   diabetes mellitus and heart conditions. See
     https://www.cdph.ca.gov/Programs/CID/DCDC/Pages/COVID-19/Provider-
24   Bulletin-2-12-21.aspx. Moreover, on April 1, 2021, everyone who had
     reached an age of 50, regardless of whether they have an underlying
25   health condition, became eligible. Id.; see also
     https://www.gov.ca.gov/2021/04/01/as-california-expands-covid-19-
26   vaccine-eligibility-to-all-californians-50-governor-newsom-receives-
     vaccine-in-los-angeles/.
27
          4 See “Vaccination progress dashboards” at
28   https://covid19.ca.gov/vaccines/ and link to “Data Dictionary” for
     definitions of terms.
                                        2
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 1   string of dilatory tactics intended to delay or prevent the

 2   imposition of justice.       Consequently, defendant’s motion should be

 3   denied.

 4   II.   DEFENDANT’S FAILURE TO SCHEDULE A VACCINATION IS A MANIPULATIVE
           EFFORT TO DELAY JUSTICE
 5
           Defendant’s motion, which depends almost entirely on his claim
 6
     that he has “not yet been able to receive the COVID19 vaccine” makes
 7
     no effort to explain why he--unlike nearly half the adult population
 8
     of Californian--has not availed himself of the opportunity to do so.
 9
     (Dkt. 347)    Upon receipt of defendant’s motion, the Government made
10
     inquiries of the defense and was informed, on April 7, that rather
11
     than being unable to obtain access to a vaccine, “Mr. Zuberi has not
12
     received the vaccine because of concerns about the side effects and
13
     possible allergic reactions.”        (O’Brien Declaration, Exhibit 1)
14
     Defendant certainly has the right to refuse or delay receipt of the
15
     vaccine; however, his voluntary election to forego treatment should
16
     not provide the basis for delaying his surrender date.
17
           Defendant’s history of failing to comply with the terms of his
18
     plea agreement, false representations to the Court leading up to
19
     sentencing, misleading representations in his current application,
20
     and recent violations of his conditions of release indicate that his
21
     decision not to be vaccinated, despite his eligibility for nearly a
22
     month, is an attempt to manipulate facts so as to unjustifiably delay
23
     his surrender date.      The Court is well aware of defendant’s refusal
24
     to comply with the terms of his plea agreement and his dishonesty in
25
     his sentencing briefs. (See Dkt. 229, Government’s Reply to
26
     Defendant’s Response to Government’s Position Re Acceptance of
27
     Responsibility)     Since sentencing, defendant has reacted to his
28

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 1   release restrictions in a way that appears designed to assess the

 2   flexibility of the restraints placed upon him and may evidence an

 3   inclination to flee.      Shortly after defendant was placed on curfew

 4   under electronic monitoring, defendant tried to “test the waters” by

 5   pushing the bounds of his release conditions.          In February, defendant

 6   travelled to Orange County and requested that the United States

 7   Probation Office (“USPO”) grant him permission to stay the weekend in

 8   a hotel despite the curfew imposed by the Court.           The USPO denied

 9   this request.     (O’Brien Declaration, ¶ 4)       Although defendant

10   complied and returned home as directed (Id.), he nevertheless

11   violated curfew on two subsequent occasions.          (Dkt. 345)    Defense

12   counsel explained his violations as having been due to meetings with

13   defense counsel.      (O’Brien Declaration, Exhibit 2)       Defendant then

14   requested that the Government expand the hours of permitted travel

15   with the justification that the typical eight-hour workday was

16   insufficient for him to meet with his attorneys.           The Government

17   declined because the parties had stipulated to the curfew, an eight-

18   hour work day should be sufficient for defendant to meet with

19   counsel, counsel could visit defendant at his home if they needed

20   more than an eight-hour day to meet with defendant, and extending

21   defendant’s travel hours would tax Government resources devoted to

22   monitoring defendant while on release.         (O’Brien Declaration, Exhibit

23   2).   While defendant was within his rights to request an extension of

24   his travel hours, the spurious reasons offered in support of his

25   request provide further evidence that defendant is not making a good-

26   faith effort to honor the stipulated conditions of his release.

27         Similarly, even though the bond order required defendant to

28   transfer by March 5 quitclaim deeds executed in favor of the United

                                              4
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 1   States Government, defendant chose to delay.          Defendant only complied

 2   with the Court’s February 19 order that required the deeding of

 3   property by March 5 over a month later, and only after the filing of

 4   the instant April 5 motion to extend his surrender date.5

 5         Defendant also continues to renege on his plea and sentencing

 6   obligations.     To date, the defendant has still has not liquidated

 7   sufficient properties to pay his tax deficiencies.           He has not filed

 8   FARA registrations as required by both statute and the terms of his

 9   plea agreement.

10   III. THERE IS STILL AMPLE TIME FOR A WILLING DEFENDANT TO BE FULLY
          VACCINATED PRIOR TO HIS SURRENDER DATE
11
           If defendant acts without further delay, ample time remains for
12
     him to be fully vaccinated prior to the May 25 surrender date.             The
13
     Center for Disease Control (“CDC”) reports that recipients are "fully
14
     vaccinated" two weeks after their second dose.6          Los Angeles County
15

16         5 On March 5, defendant tendered to the government quitclaim
     deeds issued to the benefit of defendant, not the government as
17   required by the bond order. During the period March 5 through March
     9, the parties discussed whether the government would entertain
18   accepting these quitclaim deeds in lieu of those required by the
     conditions of his release. On March 9, the government informed the
19   defense that it would not agree to change the terms of the bond
     order. On March 10, the government provided specific direction that
20   the quitclaim deeds should be issued in favor of the Department of
     the Treasury, Internal Revenue Service (“IRS”). On March 10, defense
21   counsel informed the government that the defense would obtain revised
     quitclaim deeds and provide them to the government as soon as
22   possible. As of the date of defendant’s April 5 motion, the required
     quitclaim deeds had not been tendered to the government. Only after
23   the instant motion was pending consideration by the Court, on April
     6, did defendant email to the government quitclaim deeds, executed
24   and notarized on March 24, that comply with the conditions of the
     bond order. O’Brien Declaration, ¶ 6, Exhibits 4 & 5) The deeds
25   were mailed shortly thereafter, over a month past the March 5
     deadline set by the Court.
26
          6 https://www.cdc.gov/coronavirus/2019-ncov/vaccines/fully-

27   vaccinated.html. The CDC reports an efficacy of over 90 percent for
     both the Pfizer and Moderna vaccines two weeks after the second dose.
28   https://www.cdc.gov/mmwr/volumes/70/wr/mm7013e3.htm The CDC report
                                             (footnote cont’d on next page)
                                        5
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 1   is administering three types of vaccines: the Johnson & Johnson

 2   vaccine, which requires a single dose, the Pfizer vaccine, which is

 3   administered in two doses 21 days apart, and the Moderna vaccine,

 4   which is administered in two doses 28 days apart.7           Even under the

 5   most-lengthy Moderna regimen of treatment, if defendant obtained his

 6   first dose today,8 he would receive his second dose on May 10 and be

 7   fully vaccinated by May 24.

 8   IV.   DEFENDANT HAS MISCHARACTERIZED THE INFECTION RATE AT BOP

 9         Defendant’s claim that the “spread of COVID within the federal

10   prisons, California and elsewhere, has gotten worse not better” is

11   demonstrably false.      Defendant has mischaracterized the BOP’s COVID-

12   related statistics to suggest widespread COVID-19 infection at FCI

13   Lompoc and FCI Terminal Island--in fact, no COVID infections

14   currently exist at either facility.         The statistics defendant cites,

15   indicating that 70% and 66% of inmates have tested positive for the

16   virus at FCI Lompoc and FCI Terminal Island, respectively, does not

17   convey the present situation at these institutions.            There are

18   currently zero cases of COVID-19 at both Lompoc and Terminal Island.

19   (Ben-Shmuel Declaration, ¶ 6)

20         Prior infections and vaccinations have greatly expanded the

21   number of immune inmates at these facilities.          As of April 7, 2021,

22   out of the total number of inmates housed at FCI Lompoc,

23   approximately 38% have recovered from COVID-19 and have been

24
     over 80 percent efficacy for both vaccines two weeks after the first
25   dose. Id.
          7 See
26   http://www.publichealth.lacounty.gov/media/coronavirus/vaccine/index.
     htm.
27
          8 Vaccination appointments are frequently available near
28   defendant’s home. See, e.g., Exhibit 5 (appointments available at
     cvs.com.
                                        6
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 1   vaccinated; approximately 33% have recovered from COVID-19 but have

 2   not yet been vaccinated; approximately 16% have never had COVID-19

 3   and are vaccinated; and approximately 13% have never had COVID-19 and

 4   have not yet been vaccinated.        As of that same date, out of the total

 5   number of inmates housed at FCI Terminal Island, approximately 30%

 6   have recovered from COVID-19 and have been vaccinated; approximately

 7   36% have recovered from COVID-19 but have not yet been vaccinated;

 8   approximately 13% have never had COVID-19 and are vaccinated; and

 9   approximately 20% have never had COVID-19 and have not yet been

10   vaccinated.     (Ben-Shmuel Declaration, ¶ 8 & 9)

11         Defendant’s actual designation has been to FCI Leavenworth.

12   (Ben-Shmuel Declaration, ¶ 4)        The situation at that institution is

13   similar.    As of April 12, 2021, 1,556 inmates are housed at USP

14   Leavenworth: 1,324 at the USP and 232 at the satellite camp.             (Id.)

15   A total of 867 inmates have recovered from COVID-19, 116 inmates are

16   completely vaccinated, and another 675 have received one dose of one

17   of the COVID-19 vaccines.       (Id.)   There are currently no cases of

18   inmates infected with COVID-19 at USP Leavenworth.           (Id.)

19         Moreover, to ensure that COVID-19 infections are not

20   reintroduced into BOP facilities, all USBOP inmates are tested upon

21   their arrival, quarantined for a period of 14 days, and re-tested

22   prior to their admission.       (Ben-Shmuel Declaration, ¶ 10; Exhibit A)

23   V.    THE CASES CITED BY DEFENDANT WERE ISSUED PRIOR TO THE EXISTENCE
           OF AN APPROVED VACCINE
24
           The cases cited by the defendant are not instructive in this
25
     case because they all involve dramatically different facts, both as
26
     to the state of the pandemic and to defendants’ personal
27
     circumstances.     Most of the rulings cited by defendant were issued
28

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 1    early in the pandemic when the virus was truly novel, before the

 2    widespread availability of COVID testing, and prior to the

 3    development and widespread distribution of several vaccines.             United

 4    States v. Magana, the most recent case cited by defendant, was issued

 5    on November 5, 2020 from the Southern District of California during

 6    the “third wave” of the pandemic while the country was experiencing

 7    dramatically rising rates of infection and no vaccine was available.9

 8    In that matter, the sentence imposed was a mere four months of

 9    imprisonment, and the government did not object to the extension.10

10          Here, the government similarly agreed to a delay defendant’s

11    surrender date when the facts warranted it.          However, given the

12    availability of vaccines, defendant’s further dilatory tactics, and

13    the significant risk of flight, the government believes there is no

14    justification for further delay.

15    VI.   DELAY WILL EXACERBATE THE RISK OF FLIGHT

16          Defendant falsely states that the government has acknowledged

17    that defendant presents no risk of flight.         (Dkt. 347, Defense

18    Memorandum of Points and Authorities, p. 2)          In fact, the government

19    argued that defendant posed an exceptional risk of flight in its

20    February 19, 2021 motion to modify the conditions of bond:

21          [T]he risk of defendant’s flight increased given the lengthy
            sentence imposed by the Court.       Defendant was born in
22          Pakistan, has family in Pakistan, real estate holdings in
            Pakistan, bank accounts in Dubai and various Middle Eastern
23

24
           9 The first COVID vaccine in California was administered on
25    December 14, 2020. See https://www.gov.ca.gov/2020/12/14/governor-
      newsom-launches-vaccinate-all-58-campaign-based-on-safety-and-equity-
26    as-first-vaccines-arrive-to-california/.
27         10 Defendant points out that the January 5, 2021 surrender date
      in Magana was extended by a court order dated April 1, 2021.
28    (Defense Exhibit C) He provides no explanation as to why the order
      was issued months after the surrender date had passed.
                                         8
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 1          countries, and significant overseas wealth that could sustain
            him, and his family, if he left the country.
 2
            Although defendant has a wife and two young children living
 3          in Los Angeles country (sic), there is no mechanism to
            prevent them from visiting or joining defendant overseas.
 4          Defendant’s spouse was born in China. Over the past several
            years, defendant has spent much of his time overseas.
 5          Indeed, travel records for the first half of 2018 show that
            defendant spent the majority of his time traveling overseas
 6          rather than residing within the Central District of
            California with his family.
 7
            Although defendant has honored the terms of his bond
 8          conditions prior to sentencing, the factual circumstances
            have changed because the Court ordered a lengthy sentence
 9          rather than the sentence of home confinement the defendant
            sought. Moreover, as the Court found, to this day, defendant
10          has not accepted responsibility for his criminal conduct
            which indicates a greater risk of flight.
11
      (Dkt. 328)
12
            A delay in surrender will only increase the possibility that
13
      defendant might successfully evade justice should he choose to flee.
14
      The Government has supplemented the efforts of the USPO in monitoring
15
      defendant’s whereabouts and has established mechanisms to respond to
16
      any attempted flight.      (O’Brien Declaration, ¶ 3)       The government
17
      cannot continue to expend such resources indefinitely without good
18
      cause, and the impact on the government attempting to extend such
19
      supervision for another three months is a factor the Court should
20
      consider.
21
      VII. THE SECURITY CLEARANCE TIMELINE DOES NOT JUSTIFY DELAYING
22         DEFENDANT’S SURRENDER

23          Defendant also asks to delay his surrender so that defense

24    counsel can obtain security clearances and search the handful of

25    classified pleadings in this case for arguments to support a motion

26    for bail pending appeal.      Here too, the defense is responsible for

27    any delay.    According to the defense, Ashwin Ram, Bob Eatinger, Bruce

28    Bishop, and Angel Reyes are preparing defendant’s motion for bail

                                              9
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 1    pending appeal.     (O’Brien Declaration, Exhibit 2)        By March 18, those

 2    attorneys had received access to the system used to apply for

 3    security clearances.       (O’Brien Declaration, ¶ 2)       Three of those

 4    attorneys, Eatinger, Bishop, and Reyes, completed their Form SF-86

 5    applications and submitted required fingerprints on March 25, March

 6    26, and April 1, respectively.       (O’Brien Declaration, Exhibit 2)        As

 7    of the date the defense motion was submitted, lead attorney Ram had

 8    not yet filed an SF-86 or submitted fingerprints because “he was

 9    experiencing technical issues on having his information pre-

10    populated.”    (Id.)      He then filed the SF-86 over the weekend of April

11    10-11.

12            The Classified Information Security Officer expects that

13    clearances for Eatinger, Bishop, and Reyes will be approved before

14    the end of April, and may be approved as early as this week.             Given

15    the very limited classified record, this timeline would undoubtedly

16    enable defense counsel to review the record and submit a fully

17    briefed motion for bail pending appeal before defendant’s surrender

18    date of May 25.

19    VIII.        CONCLUSION

20            For the foregoing reasons, the government respectfully requests

21    that defendant’s motion to extend his surrender date be denied.

22

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                                              10
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 1                             DECLARATION OF DANIEL J. O’BRIEN

 2          I, DANIEL J. O’BRIEN, declare as follows:

 3          1.     I am an Assistant United States Attorney in the United

 4    States Attorney’s Office for the Central District of California

 5    responsible for the matters of United States v. Imaad Shah Zuberi, CR

 6    19-642-VAP and United States v. Imaad Shah Zuberi, CR 20-155-VAP.

 7          2.     Attached as Exhibit 1 is email correspondence between the

 8    government and defense counsel dated April 6-7, 2021 that addresses

 9    why the defendant had not obtained COVID19 vaccination and the status

10    of defense counsel obtaining security clearances.           The government has

11    been informed by the Classified Information Security Officer (“CISO”)

12    that by March 18, those defense attorneys who had requested access to

13    the system used to apply for security clearances had received it.                As

14    indicated in Exhibit 1, three defense attorneys, Bob Eatinger, Bruce

15    Bishop, and Angel Reyes, completed their Form SF-86 applications and

16    submitted required fingerprints on March 25, March 26, and April 1,

17    respectively.     The Government has been informed by the CISO that it

18    expects that clearances for Eatinger, Bishop, and Reyes will be

19    approved before the end of April, and may be approved as early as

20    this week.    At the time the defense filed the instant motion, lead

21    attorney Ram had not yet filed an SF-86 or submitted fingerprints

22    because “he was experiencing technical issues on having his

23    information pre-populated.”       (Id.)    On April 12, 2021, Mr. Ram

24    informed me he filed his Form SF-86 application over the weekend.

25          3.     I have discussed with Special Agents for the Internal

26    Revenue Service and the Federal Bureau of Investigation the

27    monitoring defendant’s whereabouts during his release up until his

28    surrender date of May 25, 2021.        I have been informed that the

                                                11
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 1    Special Agents would supplement the monitoring conducted by the U.S.

 2    Probation Office (“USPO”), establish lines of communication with

 3    monitoring USPO personnel to ensure a rapid response should defendant

 4    flee, and enlist the support of other agents and agencies to assist

 5    in any efforts to apprehend defendant should it prove necessary.

 6            4.   I have been informed by IRS SA John Lucero that he spoke to

 7    the USPO’s Location Monitoring Specialist who informed him that in

 8    February, while defendant was subject to electronic monitoring,

 9    defendant travelled to Orange County and requested that the United

10    States Probation Office (“USPO”) grant him and his family permission

11    to stay the weekend in a hotel despite the 5 p.m. curfew imposed by

12    the Court.    The USPO denied this request (he had no authority to

13    modify the terms of the Court’s order) and defendant complied with

14    the Probation Officer’s instructions.

15            5.   Attached as Exhibit 2 is email correspondence between the

16    government and defense counsel dated March 22-23, 2021 that addresses

17    defendant’s curfew violations and a defense request that the

18    government stipulate to an expansion of defendant’s travel hours.

19            6.   On March 5, 2021, defendant tendered to the government

20    quitclaim deeds issued to the benefit of defendant, not the

21    government as required by the bond order.         (See attached Exhibit 3)

22    During the period March 5 through March 9, the parties discussed

23    whether the government would entertain accepting these quitclaim

24    deeds in lieu of those required by the conditions of his release.

25    (Id.)    On March 9, the government informed the defense that it would

26    not agree to change the terms of the bond order.          (Id.)    On March 10,

27    the government provided specific direction that the quitclaim deeds

28    should be issued in favor of the Department of the Treasury, Internal

                                              12
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 1    Revenue Service (“IRS”).      (Id.)    On March 10, defense counsel

 2    informed the government that the defense would obtain revised

 3    quitclaim deeds and provide them to the government as soon as they

 4    were completed.     As of the date of defendant’s April 5 motion, the

 5    required quitclaim deeds had not been tendered to the government.

 6    Only after the instant motion was pending consideration by the Court,

 7    on April 6, did defendant email to the government quitclaim deeds,

 8    executed and notarized on March 24, that comply with the conditions

 9    of the bond order.     (See attached Exhibits 4A, 4B, & 4B)         Defense

10    counsel has informed me that the actual quit claim deeds were mailed

11    after April 6, over a month past the due date set by the Court.

12    While it is true that the IRS was tardy informing defense counsel of

13    an appropriate mailing address, defense counsel did not notify the

14    government that the quitclaim deeds had been signed on March 24,

15    emails copies of the quitclaims to the government, or make further

16    inquiries of the government until after the instant application

17    seeking to delay the surrender date had been filed.

18          7.    Attached as Exhibit 5 are printouts of COVID19 vaccination

19    appointments at cvs.com available as of Sunday, April 11, 2021 at

20    approximately 6:30 a.m.

21            I declare under penalty of perjury under the laws of the

22    United States of America that the foregoing is true and correct and

23    that this declaration is executed at Los Angeles, California, on

24    April 12, 2021.

25

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27                                                    DANIEL J. O’BRIEN
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                                              13
     Case 2:19-cr-00642-VAP Document 351 Filed 04/12/21 Page 16 of 19 Page ID #:7023



1                          DECLARATION OF ELIEZER BEN-SHMUEL
2     I, Eliezer Ben-Shmuel, hereby declare:

3           1.    I am currently employed by the Federal Bureau of Prisons

4     (“BOP”) as the Supervisory Attorney of the Los Angeles Consolidated

5     Legal Center and have held this position since January, 2004.             If

6     called upon, I could and would competently testify as set forth

7     below.

8           2.    The Los Angeles Consolidated Legal Center provides legal

9     services to the Metropolitan Detention Center in Los Angeles,

10    California; the Federal Correctional Institution in Terminal Island,

11    California; the Federal Correctional Complex in Lompoc, California,

12    the Federal Correctional Complex in Victorville, California and the

13    Residential Reentry Management Office in Long Beach, California. My

14    duties as a supervisory attorney include general-case management and

15    preparation and the provision of advice and guidance to BOP executive

16    staff and assistance to the United States Attorney’s Office.

17          3.    I am making this declaration in response to a request by

18    the Office of the United States Attorney (“USAO”) for the Central

19    District of California to provide the Court with information about

20    the BOP’s operations in light of the COVID-19 pandemic.            More

21    specifically, the USAO has asked that I provide information that is

22    pertinent to the government’s Opposition to the Motion to Extend

23    Surrender Date in United States of America v. Imaad Shah Zuberi, Case

24    Nos. LACR19-642-VAP and LACR20-155-VAP.

25          4.    As part of my duties as Supervisory Attorney, I have access

26    to the BOP’s electronic database known as SENTRY, which is capable of

27    generating reports regarding current and former federal inmates,

28    including information about their location, sentence computations and
      USA v. Zuberi                                          DECLARATION OF
      Case No. LACR19-642-VAP;           1               ELIEZER BEN-SHMUEL
      LACR20-155-VAP
     Case 2:19-cr-00642-VAP Document 351 Filed 04/12/21 Page 17 of 19 Page ID #:7024



1     disciplinary history.      In preparing this declaration, I reviewed the

2     report on SENTRY regarding defendant Imaad Shah Zuberi, Register

3     Number 78924-112.     According to the report I reviewed, on March 8,

4     2021, Mr. Zuberi was designated to the United States Penitentiary in

5     Leavenworth, Kansas (“USP Leavenworth”) for service of his sentence.

6     As of April 12, 2021, 1,556 inmates are housed at USP Leavenworth;

7     1,324 at the USP and 232 at the satellite camp.

8     www.bop.gov/locations/institutions/lvn/.         There are currently no

9     cases of inmates infected with COVID-19 at USP Leavenworth.

10    https://www.bop.gov/coronavirus/.        A total of 867 inmates have

11    recovered from COVID-19.      Id.   Furthermore, 116 inmates are

12    completely vaccinated and another 675 have received one dose of one

13    of the COVID-19 vaccines.

14          5.    I have also reviewed defendant’s motion to extend his

15    surrender date, particularly those passages that relate to conditions

16    at BOP.

17          6.    Defendant’s claim that the “spread of COVID within the

18    federal prisons, California and elsewhere, has gotten worse not

19    better” is inaccurate.      The statistics defendant cites in support of

20    this claim, indicating that 70% and 66% of inmates have tested

21    positive for the virus at the Federal Correctional Institutions

22    (“FCI”) at Lompoc, California and Terminal Island, California,

23    respectively, does not convey the current situation at these

24    institutions.     The BOP public web-site has a page that provides

25    current information with respect to BOP institutions, including FCI

26    Lompoc and FCI Terminal Island: www.bop.gov/coronavirus/.            That page

27    reports that at present, there are currently no inmates cases of

28    COVID-19 both FCI Lompoc and FCI Terminal Island.
      USA v. Zuberi                                                  DECLARATION OF
      Case No. LACR19-642-VAP;           2                       ELIEZER BEN-SHMUEL
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1           7.    The page also reports that there are 828 inmates at FCI

2     Lompoc who have been tested at least once for COVID-19 and that 588

3     had a positive result, at some point.         Similarly, the page reports

4     that FCI Terminal Island reports that there are 645 inmates who have

5     been tested at least once for COVID-19 and 424 of them had a positive

6     result, at some point.      It is important to understand, however, that

7     these are all historical numbers going back to the start of the

8     pandemic.    Thus, these tests do not reflect the number of inmates

9     with a current COVID-19 infection.        Indeed, the site also reports

10    that the numbers of inmates housed at FCI Lompoc and FCI Terminal who

11    have recovered from COVID-19 are 621 and 496, respectively.            Indeed,

12    the vast majority of positive COVID-19 cases reported on this page

13    reflect results of the testing conducted by the BOP in April and May

14    of 2020, when there was an ongoing spread of the virus at these

15    institutions.     The testing was conducted in an effort to identify

16    asymptomatic inmates and separate them from those individuals who had

17    not yet contracted COVID-19.       The testing was also conducted at a

18    time when COVID-19 tests and, more specifically, mass testing for

19    COVID-19, had just become available for these institutions.            Since

20    the summer of 2020, the majority of positive tests at both

21    institutions have been the result the testing conducted on

22    individuals when they first arrive at BOP facilities.

23          8.    As of April 7, 2021, of the total number of inmates housed

24    at FCI Lompoc: approximately 38% have recovered from COVID-19 and

25    have been vaccinated; approximately 33% have recovered from COVID-19

26    but have not yet been vaccinated; approximately 16% have never had

27    COVID-19 and are vaccinated; and, approximately 13% have never had

28    COVID-19 and have not yet been vaccinated.
      USA v. Zuberi                                                  DECLARATION OF
      Case No. LACR19-642-VAP;           3                       ELIEZER BEN-SHMUEL
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     Case 2:19-cr-00642-VAP Document 351 Filed 04/12/21 Page 19 of 19 Page ID #:7026



1           9.    As of April 7, 2021, of the total number of inmates housed

2     at FCI Terminal Island: approximately 30% have recovered from COVID-

3     19 and have been vaccinated; approximately 36% have recovered from

4     COVID-19 but have not yet been vaccinated; approximately 13% have

5     never had COVID-19 and are vaccinated; and, approximately 20% have

6     never had COVID-19 and have not yet been vaccinated.

7           10.   Finally, both institution have implemented the procedures

8     detailed in the BOP’s COVID-19 Pandemic Response Plan.            A copy of

9     this plan is attached hereto as Exhibit A.         That plan provides

10    details regarding every aspect of facility operations in the midst of

11    the pandemic.     For example, the plan requires that all incoming

12    inmates be tested for COVID-19 and, if the initial test results are

13    negative, placed in quarantine.        They are re-tested for COVID-19 on

14    day 14 and are not released from quarantine unless they have a second

15    negative test.     Exh. A, Module 4, p. 10.

16          I declare under penalty of perjury under the laws of the United

17    States of America that the foregoing is true and correct to the best

18    of my information, knowledge, and belief, and based upon records

19    maintained in the ordinary course of business. Executed this 12th day

20    of April, 2020 in Los Angeles, California.

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                                                     Eliezer Ben-Shmuel
24                                                   Supervisory Attorney
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      USA v. Zuberi                                                  DECLARATION OF
      Case No. LACR19-642-VAP;                4                  ELIEZER BEN-SHMUEL
      LACR20-155-VAP
